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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
  BIDSPOTTER, INC.,

                                        Plaintiff,
                                                      ATTORNEY DECLARATION IN
                                                      SUPPORT OF MOTION FOR DEFAULT
                     -against-
                                                      JUDGMENT
  KOSTER INDUSTRIES, INC.,
                                                      Case No. 2:21-cv-01726 (DG-AKT)
                                     Defendant.




        I, DUSTIN GRANT, pursuant to 28 U.S.C. § 1746, hereby declare under penalty of

 perjury that the following is true and correct to the best of my knowledge:


        1.      I am a member of the bar of this Court and an attorney for plaintiff BidSpotter, Inc.

 (“BidSpotter”). I make this Declaration in support of plaintiff’s motion for a default judgment

 under Federal Rule of Civil Procedure 55(b)(1) and Local Civil Rule 55.2(a) against defendant

 Koster Industries Inc. (“Koster Industries”).

        2.      A copy of a proposed Default Judgment is attached hereto as Exhibit A. A copy of

 the Complaint is attached as Exhibit B.

        3.      Federal Rule of Civil Procedure 55 allows the Court to enter a default judgment

 against a party when that party “has failed to plead or otherwise defend.” Courts in this circuit

 have consistently held that default is the appropriate remedy for failure to answer the complaint or

 otherwise defend. See, e.g., United States v. DiPaolo, 466 F. Supp. 2d 476, 482-483 (S.D.N.Y.
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 2006); Alston v. Northstar La Guardia LLC, 10-cv-3611 (LAK) (GWG), 2010 WL 3432307, at *1

 (S.D.N.Y. Sept. 2, 2010).

        4.        Pursuant to Rule 55 of the Federal Rules of Civil Procedure, there is a two-step

 process for the entry of judgment against a party who fails to defend. City of N.Y. v. Mickalis

 Pawn Shop, LLC, 645 F.3d 114, 128 (2d Cir. 2011). First, if a defendant has failed to answer

 timely or otherwise defend the action, then the plaintiff may apply to the Clerk of the Court for

 entry of a certificate of default pursuant to Rule 55(a). New York v. Green, 420 F.3d 99, 104 (2d

 Cir. 2005). Second, if the defendant still fails to appear after the entry of default, the plaintiff may

 seek a judgment by default under Rule 55(b). Id.

        5.        Plaintiff BidSpotter applied for entry of a certificate of default, and the Clerk of

 Court has noted the default of defendant Koster Industries. See ECF No. 13. A copy of the

 Certificate of Default against Koster Industries is attached hereto as Exhibit C.

        6.        Plaintiff now seeks entry of a default judgment against defendant Koster Industries

 under step two of Rule 55’s two-step process.

 I.     Defendant Koster Industries Inc. Has Defaulted in This Proceeding.

        7.        The Plaintiff on March 30, 2021, filed in this cause a Complaint against defendant

 Koster Industries. ECF No. 1.

        8.        Examination of the court files and record in this cause shows that defendant Koster

 Industries was served with a copy of summons, together with a copy of plaintiff’s Complaint, on

 April 12, 2021. See ECF No. 7.

        9.        Defendant Koster Industries has not answered or otherwise moved with respect to

 the Complaint, and the time for defendant Koster Industries to answer or otherwise move has not

 been extended.



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        10.     The Clerk of Court has noted the default of defendant Koster Industries. See ECF

 No. 13. A copy of the Certificate of Default against Koster Industries is attached hereto as Exhibit

 C.

 II.    Personal Jurisdiction Exists Over Defendant Koster Industries Inc.

        11.       This Court has personal jurisdiction over Koster Industries because Koster

 Industries transacts business in and is headquartered in this district.

 III.   Plaintiff Has Established Its Claims for Breach of Contract and, in the Alternative,

 Account Stated.

        12.     On a motion for entry of a default judgment, the allegations of the complaint are

 deemed admitted where the defendant fails to answer. Greyhound Exhibitgroup, Inc. v. E.L.U.L.

 Realty Corp., 973 F.2d 155, 158 (2nd Cir. 1992). However, a “default ... only establishes a

 defendant’s liability if those allegations are sufficient to state a cause of action against the

 defendant.” Taizhou Zhongneng Imp. & Exp. Co., Ltd. v. Koutsobinas, 509 Fed. Appx. 54, 56 (2nd

 Cir. 2013).

        13.     Plaintiff BidSpotter has established defendant’s liability for both breach of contract

 and, in the alternative, account stated.

        14.     The elements of a breach of contract claim under New York law are: “(1) the

 existence of an agreement, (2) adequate performance of the contract by the plaintiff, (3) breach of

 contract by the defendant, and (4) damages.” Martino v. MarineMax Ne., LLC, No. 17-cv-4708,

 2018 WL 6199557, at *3 (E.D.N.Y. Nov. 28, 2018) (quoting Harsco Corp. v. Segui, 91 F.3d 337,

 348 (2d Cir. 1996)).

        15.       The Complaint establishes each of these four elements. Specifically, the parties

 entered into a series of agreements with identical terms, pursuant to which plaintiff BidSpotter



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 agreed to host a series of online auctions on behalf of defendant Koster Industries. See Complaint

 ¶ 8-9. In exchange for these services, defendant Koster Industries agreed to pay BidSpotter a

 $375.00 Timed Online Only Auction Event Fee and a transaction-based fee of 3% of the aggregate

 hammer price paid by online bidders placing the winning bid for auctioned items. Id. ¶ 9.

        16.     Plaintiff performed pursuant to each of these agreements, and shortly after the

 conclusion of each of these auctions, provided Koster Industries with separate invoices, each

 requiring payment roughly two weeks after the date of invoice. Id. ¶ 8, 10. The most recent

 invoice was dated October 9, 2020, with a payment due date of October 24, 2020. Id. ¶ 10.

        17.     Koster Industries has breached these agreements and remains in default on 23 of

 the remaining invoices from auctions occurring from the period of December 2019 to September

 2020. Id. ¶ 13. The total amount due on these invoices is $167,148.95 as provided below:
                                   Invoice
                 Event #           Number       Inv Date       Due Date       Open Balance

              bscko10407            36590       01/30/2020      02/14/2020          1,749.75
              bscko10406            36668       01/31/2020      02/15/2020          1,494.45
              bscko10405            36709       02/07/2020      02/22/2020          2,775.30
              bscko10404            36777       02/17/2020      03/03/2020          1,599.00
              bscko10409            36783       02/18/2020      03/04/2020           994.80
              bscko10408            36850       02/27/2020      03/13/2020          3,600.75
              bscko10410            36871       02/29/2020      03/15/2020          7,173.75
              bscko10411            36963       03/12/2020      03/27/2020          1,250.00
              bscko10411            37033       03/23/2020      04/07/2020         10,011.75
              bscko10412            37081       03/24/2020      04/08/2020          1,837.50
              bscko10414            37150       03/31/2020      04/15/2020           749.10
              bscko10413            37163       03/31/2020      04/15/2020          1,815.75
              bscko10415            37185       04/07/2020      04/22/2020          1,087.50
              bscko10417            37259       04/24/2020      05/09/2020          2,108.55
              bscko10416            37509       05/31/2020      06/15/2020           566.70
              bscko10418            38035       07/28/2020      08/12/2020         98,788.95
              bscko10420            38087       07/31/2020      08/15/2020           504.60
              bscko10419            38107       07/31/2020      08/15/2020          3,086.55
              bscko10421            38293       08/26/2020      09/10/2020         14,438.85
              bscko10423            38351       08/31/2020      09/15/2020          1,522.35
              bscko10422            38399       09/09/2020      09/24/2020          3,246.30


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               bscko10424            38446       09/11/2020       09/26/2020          5,098.05
               bscko10425            38704       10/09/2020       10/24/2020          1,648.65


         TOTAL BALANCE DUE                                                     $    167,148.95




        18.     The above-referenced invoices are included as Exhibit A to the Complaint.

        19.     Alternatively, Plaintiff has also established defendant’s liability for account stated

        20.     “To establish a claim for account stated, a plaintiff must plead that: (1) an account

 was presented; (2) it was accepted as correct; and (3) [the] debtor promised to pay the amount

 stated.” Camacho Mauro Mulholland LLP v. Ocean Risk Retention Grp., Inc., No. 09 CIV. 9114

 (SAS), 2010 WL 2159200, at *2 (S.D.N.Y. May 26, 2010) (internal citations and quotations marks

 omitted). An implied account stated exists where a party receives bills without objecting to them

 within a reasonable period of time or makes partial payment on the account. See id.; see also

 Citibank (S. Dakota), N.A. v. Brown-Serulovic, 948 N.Y.S.2d 331, 332 (N.Y. App. Div. 2012).

        21.     The Complaint establishes the requisite elements for a claim for account stated.

 Specifically, BidSpotter provided Defendant Koster Industries with dozens of invoices seeking

 payment for Koster Industries’ use of BidSpotter’s services rendered. See Complaint ¶¶ 10, 13,

 24. Defendant Koster Industries has made partial payment on the account through two payments,

 which were applied to earlier invoices. Id. ¶ 12. Additionally, Koster Industries has failed to

 object to any of the invoices in question. Id. ¶¶ 11, 25.

 III.   Principal Amount Due and Owing, and Computation of Interest.

        22.     As set forth above, the total amount due and owing under the breached agreements

 between BidSpotter and Koster Industries is $167,148.95.




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         23.     The amount of statutory interest that has accumulated on this amount since the date

 of defendant's final breach, October 24, 2020, is $8,613.90 (i.e. $167,148.95    * (9% per annum
 statutory interest rate)   * (209/365 days)).
         24.     The total amount due and owing, inclusive of statutory interest is $175,762.85.




         WHEREFORE, plaintiff requests that a default judgment be entered in favor of plaintiff

  BidSpotter, Inc. against defendant Koster Industries Inc. in the amount of $175,762.85, which is

  the sum of the outstanding balance ($167,148.95) due under the breached agreements, plus the

  interest on the damages amount accrued through May 21,2021 ($8,613.90). A copy ofa proposed

  Judgment is attached as Exhibit A.

         Pursuant to 28 U.S .c. § 1746, I declare under penalty of petjury that the foregoing is true

  and accurate to the best of my knowledge and that the amount claimed is justly due to plaintiff.




 Dated: New York, New York
        May 21, 2021                                   Dustin Grant
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